Case 1:23-cr-20049-TLL-PTM ECF No. 43, PagelD.136 Filed 12/20/23 Page 1 of 15

United States District Court
Eastern District of Michigan
Northern Division

United States of America,

Plaintiff,
Hon. Thomas L. Ludington

Vv.

Case No. 23-CR-20043
Dulani Degrate,

Defendant.

Plea Agreement

The United States of America and the defendant, Dulani Degrate,
have reached a plea agreement under Federal Rule of Criminal
Procedure 11. The plea agreement’s terms are:

1. Count[s] of Conviction

The defendant will plead guilty to Count 1 of the indictment.
Count 1 charges the defendant with possession with the intent to

distribute cocaine under 21 U.S.C. § 841.

2. Statutory Minimum and Maximum Penalties

The defendant understands that the count to which he is pleading

guilty carries the following maximum statutory penalties:

Page 1 of 15
Case 1:23-cr-20049-TLL-PTM ECF No. 43, PagelD.137 Filed 12/20/23 Page 2 of 15

Count 1 Term of imprisonment: 20 years
Fine: $1,000,000
Term of supervised release: | Minimum of 3 years up to
life

3. Agreement Not to Bring Additional Charges

If the Court accepts this agreement and imposes sentence
consistent with its terms, the United States Attorney’s Office for the
Eastern District of Michigan will not bring additional charges against
the defendant for the conduct reflected in the Rule 11 plea agreement.

4. Agreement to Forgo or Withdraw § 851 Information
Requiring Enhanced Penalties

The defendant acknowledges that he has prior convictions that
may subject him to enhanced statutory penalties under the Controlled
Substances Act. As part of this plea agreement, the government agrees
that it will not file an information under 21 U.S.C. § 851 and that it will
withdraw any information under 21 U.S.C. § 851 that has already been

filed.

5. Elements of Count of Conviction

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The elements of Count 1 are:

Page 2 of 15

Case 1:23-cr-20049-TLL-PTM ECF No. 43, PagelD.138 Filed 12/20/23 Page 3 of 15

1. defendant possessed a mixed or substance containing a
detectable amount of the controlled substance cocaine;

2. defendant did so knowingly; and

3. defendant intended to distribute it.

6. Factual Basis

The parties agree that the following facts are true, accurately
describe the defendant’s role in the offense, and provide a sufficient
factual basis for the defendant’s guilty plea:

On January 3, 2023, Dulani Degrate was driving a car in the
Northern Division, Eastern District of Michigan. Inside the car, in
which Degrate was the sole occupant, Degrate had $1,600 in cash. In
the engine compartment the police found a clean bag containing 389
grams of powder cocaine and 5.1 grams of crack cocaine. Degrate knew

the cocaine was there and intended to distribute it to others.

7. Advice of Rights

The defendant has read the indictment, has discussed the charges
and possible defenses with his attorney, and understands the crime
charged. The defendant understands that, by pleading guilty, he is

waiving many important rights, including the following:

Page 3 of 15
Case 1:23-cr-20049-TLL-PTM ECF No. 43, PagelD.139 Filed 12/20/23 Page 4 of 15

A. The right to plead not guilty and to persist in that plea;
B. The right to a speedy and public trial by jury;

C. The right to be represented by counsel—and, if necessary,
have the court appoint counsel—at trial;

D. The right to be presumed innocent and to require the

government to prove the defendant guilty beyond a reasonable

doubt at trial;

E. The right to confront and cross-examine adverse witnesses

at trial;

F. The right to testify or not to testify at trial, whichever the
defendant chooses;

G. Ifthe defendant chooses not to testify at trial, the right to
have the jury informed that it may not treat that choice as
evidence of guilt;

H. The right to present evidence or not to present evidence at

trial, whichever the defendant chooses; and

I. The right to compel the attendance of witnesses at trial.

Page 4 of 15
Case 1:23-cr-20049-TLL-PTM ECF No. 43, PagelD.140 Filed 12/20/23 Page 5 of 15

8. Collateral Consequences of Conviction

The defendant understands that his conviction here may carry
additional consequences under federal or state law. The defendant
understands that, if he is not a United States citizen, his conviction
here may require him to be removed from the United States, denied
citizenship, and denied admission to the United States in the future.
The defendant further understands that the additional consequences of
his conviction here may include, but are not limited to, adverse effects
on the defendant’s immigration status, naturalized citizenship, right to
vote, right to carry a firearm, right to serve on a jury, and ability to hold
certain licenses or to be employed in certain fields. The defendant

_understands that no one, including the defendant’s attorney or the
Court, can predict to a certainty what the additional consequences of
the defendant’s conviction might be. The defendant nevertheless affirms
that the defendant chooses to plead guilty regardless of any

immigration or other consequences from his conviction.

Page 5 of 15
Case 1:23-cr-20049-TLL-PTM ECF No. 43, PagelD.141 Filed 12/20/23 Page 6 of 15

9. Defendant’s Guideline Range
A. Court’s Determination

The Court will determine the defendant’s guideline range at

sentencing.

B. Acceptance of Responsibility

The government recommends under Federal Rule of Criminal
Procedure 11(c)(1)(B) that the defendant receive a two-level reduction
for acceptance of responsibility under USSG § 3E1.1(a). Further, if the
defendant’s offense level is 16 or greater and the defendant is awarded
the two-level reduction under USSG § 3E1.1(a), the government
recommends that the defendant receive an additional one-level
reduction for acceptance of responsibility under USSG § 3E1.1(b). If,
however, the government learns that the defendant has engaged in any
conduct inconsistent with acceptance of responsibility—including, but
not limited to, making any false statement to, or withholding
information from, his probation officer; obstructing justice in any way;
denying his guilt on the offense(s) to which he is pleading guilty;
committing additional crimes after pleading guilty; or otherwise

demonstrating a lack of acceptance of responsibility as defined in USSG

Page 6 of 15
Case 1:23-cr-20049-TLL-PTM ECF No. 43, PagelD.142 Filed 12/20/23 Page 7 of 15

§ 3E1.1—the government will be released from its obligations under
this paragraph, will be free to argue that the defendant not receive any
reduction for acceptance of responsibility under USSG § 3E1.1, and will
be free to argue that the defendant receive an enhancement for
obstruction of justice under USSG § 3C1.1.

C. Parties’ Obligations

Both the defendant and the government agree not to take any
position or make any statement that is inconsistent with any of the
guideline recommendations or factual stipulations in paragraph 9.B.
Neither party is otherwise restricted in what it may argue or present to
the Court as to the defendant’s guideline calculation.

D. Nota Basis to Withdraw

The defendant understands that he will have no right to withdraw
from this agreement or withdraw his guilty plea if he disagrees, in any
way, with the guideline range determined by the Court, even if that
guideline range does not incorporate the parties’ recommendations or
factual stipulations in paragraph 9.B. The government likewise has no

right to withdraw from this agreement if it disagrees with the guideline

range determined by the Court.

Page 7 of 15
Case 1:23-cr-20049-TLL-PTM ECF No. 43, PagelD.143 Filed 12/20/23 Page 8 of 15

10. Imposition of Sentence
A. Court’s Obligation

The defendant understands that in determining his sentence, the
Court must calculate the applicable guideline range at sentencing and
must consider that range, any possible departures under the sentencing
guidelines, and the sentencing factors listed in 18 U.S.C. § 3553(a), and
apply any applicable mandatory minimums.

B. Imprisonment

1. Recommendation
Under Federal Rule of Criminal Procedure 11(c)(1)(B), the
government recommends that the defendant’s sentence of imprisonment
not exceed the bottom of the defendant’s guideline range as determined
by the Court.
2. No Right to Withdraw
The government’s recommendation in paragraph 10.B.1 is not
binding on the Court. The defendant understands that he will have no
right to withdraw from this agreement or withdraw his guilty plea if the
Court decides not to follow the government’s recommendation. The

government likewise has no right to withdraw from this agreement if

Page 8 of 15
Case 1:23-cr-20049-TLL-PTM ECF No. 43, PagelD.144 Filed 12/20/23 Page 9 of 15

the Court decides not to follow the government’s recommendation. If
however, the Court rejects or purports to reject any other term or terms
of this plea agreement, the government will be permitted to withdraw
from the agreement.

C. Supervised Release

1. Recommendation

Under Federal Rule of Criminal Procedure 11(c)(1)(B), the
government recommends that the Court impose a three-year term of
supervised release.

2. Later revocation of supervised release

The defendant understands that the government's
recommendation concerning the length of the defendant's sentence of
imprisonment, as described above in paragraph 10.B.1, will not apply to
or limit any term of imprisonment that results from any later
revocation of the defendant’s supervised release.

D. Fines

There is no recommendation or agreement as to a fine.

Page 9 of 15
Case 1:23-cr-20049-TLL-PTM ECF No. 43, PagelD.145 Filed 12/20/23 Page 10 of 15

E. Restitution

The Court must order restitution to every identifiable victim of
the defendant’s offense. There is no recommendation or agreement on
restitution. The Court will determine at sentencing who the victims are
and the amounts of restitution they are owed.

The defendant agrees that restitution is due and payable
immediately after the judgment is entered and is subject to immediate
enforcement, in full, by the United States. 18 U.S.C. §§ 3612(c) and
3613. If the Court imposes a schedule of payments, the defendant
agrees that the schedule of payments is a schedule of the minimum
payment due, and that the payment schedule does not prohibit or limit
the methods by which the United States may immediately enforce the
judgment in full.

The defendant agrees to make a full presentence disclosure of his
financial status to the United States Attorney’s Office by completing a
Financial Disclosure Form and the accompanying releases for the
purpose of determining his ability to pay restitution. The defendant
agrees to complete and return the Financial Disclosure Form within

three weeks of receiving it from government counsel. The defendant

Page 10 of 15
Case 1:23-cr-20049-TLL-PTM ECF No. 43, PagelD.146 Filed 12/20/23 Page 11 of 15

agrees to participate in a presentencing debtor's examination if

requested to do so by government counsel.

F. Special Assessment

The defendant understands that he will be required to pay a

special assessment of $100, due immediately upon sentencing.

11. Appeal Waiver

The defendant waives any right he may have to appeal his
conviction on any grounds. If the defendant’s sentence of imprisonment
does not exceed the bottom of the guideline range determined by the
Court, the defendant also waives any right he may have to appeal his

sentence on any grounds.

12. Collateral Review Waiver

The defendant retains the right to raise claims alleging ineffective
assistance of counsel or prosecutorial misconduct, as long as the
defendant properly raises those claims by collateral review under 28
U.S.C. § 2255. The defendant also retains the right to pursue any relief
permitted under 18 U.S.C. § 3582(c), as long as the defendant properly
files a motion under that section. The defendant, however, waives any

other right he may have to challenge his conviction or sentence by

Page 11 of 15
Case 1:23-cr-20049-TLL-PTM ECF No. 43, PagelD.147 Filed 12/20/23 Page 12 of 15

collateral review, including, but not limited to, any right he may have to
challenge his conviction or sentence on any grounds under 28 U.S.C.

§ 2255 (except for properly raised ineffective assistance of counsel or
prosecutorial misconduct claims, as described above), 28 U.S.C. § 2241,

or Federal Rule of Civil Procedure 59 or 60.

13. Consequences of Withdrawal of Guilty Plea or Vacation of
Judgment

If the defendant is allowed to withdraw his guilty plea, or if the
defendant’s conviction or sentence under this agreement is vacated, the
government may reinstate any charges against the defendant that were
dismissed as part of this agreement and may file additional charges
against the defendant relating, directly or indirectly, to any of the
conduct underlying the defendant’s guilty plea or any relevant conduct.
If the government reinstates any charges or files any additional charges
as permitted by this paragraph, the defendant waives his right to
challenge those charges on the ground that they were not filed ina

timely manner, including any claim that they were filed after the

limitations period expired.

Page 12 of 15
Case 1:23-cr-20049-TLL-PTM ECF No. 43, PagelD.148 Filed 12/20/23 Page 13 of 15

14. Use of Withdrawn Guilty Plea

The defendant agrees that if he is permitted to withdraw his
guilty plea for any reason, he waives all of his rights under Federal
Rule of Evidence 410, and the government may use his guilty plea, any
statement that the defendant made at his guilty plea hearing, and the
factual basis set forth in this agreement, against the defendant in any

proceeding.

15. Parties to Plea Agreement

This agreement does not bind any government agency except the
United States Attorney’s Office for the Eastern District of Michigan.

16. Scope of Plea Agreement

This plea agreement is the complete agreement between the
parties and supersedes any other promises, representations,
understandings, or agreements between the parties concerning the
subject matter of this agreement that were made at any time before the
guilty plea is entered in court. Thus, no oral or written promises made
by the government to the defendant or to the attorney for the defendant
at any time before the defendant pleads guilty are binding except to the

extent they have been explicitly incorporated into this plea agreement.

Page 13 of 15
Case 1:23-cr-20049-TLL-PTM ECF No. 43, PagelD.149 Filed 12/20/23 Page 14 of 15

If the parties have entered, or subsequently enter, into a written proffer
or cooperation agreement, though, this plea agreement does not
supersede or abrogate the terms of that agreement. This plea
agreement also does not prevent any civil or administrative actions
against the defendant, or any forfeiture claim against any property, by

the United States or any other party.

17. Acceptance of Agreement by Defendant

This plea offer expires unless it has been received, fully signed, in
the United States Attorney’s Office by 5pm on September 11, 2023. The
government may withdraw from this agreement at any time before the

defendant pleads guilty.

Dawn N. Ison
United States Attorney

IMMA

Roy KrahzJ Oo
ch Offices Assistant United Stat

ited States Attorney

Anthony
Chief, Br

Attorney

Dated: 9/1/2023

By signing below, the defendant and his attorney agree that the

defendant has read or been read this entire document, has discussed it

Page 14 of 15
Case 1:23-cr-20049-TLL-PTM ECF No. 43, PagelD.150 Filed 12/20/23 Page 15 of 15

with his attorney, and has had a full and complete opportunity to confer
with his attorney. The defendant further agrees that he understands
this entire document, agrees to its terms, has had all of his questions

answered by his attorney, and is satisfied with his attorney’s advice and

representation.

LG bao. OW ag wake
Elias Escobedo Dulani Degratd)
Attorney for 0 CJ Defendant

Dated: (fa ree

Page 15 of 15
